Case 2:21-cv-01078-CCW Document 14 Filed 10/14/21 Page 1 of12

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

LAWRENCE HARTMAN, JR.,
No.: 2:21 cv 1078
Plaintiff

V5.

HENRY CLAY TOWNSHIP, CHARLES
MYERS, in his official and individual
capacity, WILLIAM HAYDEN, in his
official and individual capacity,
McMILLAN ENGINEERING, INC.,
TAMMY STENSON, in her official

and individual capacity, and RICK
WILSON, in his official and individual

capacity,

JURY TRIAL DEMANDED

“eee Sere” ome Me” Sommer” omer” Se” ome ee Ne” nee” eel nee” ee” Seger” Sel ne

Defendants.

DEFENDANT MCMILLEN ENGINEERING, INC.’S MOTION TO DISMISS
PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(B)(6)
AND NOW come the Defendants McMillen Engineering Inc., and Tammy Stenson
by and through their counsel Francis X. McTiernan, Jr., Esquire and Wayman, Irvin, and
McAuley, LLC and files the within Motion to Dismiss pursuant to Federal Rules of Civil

Procedure 12(b)(6).
I. . INTRODUCTION

1. Lawrence Hartman, Jr.’s (“Plaintiff”) Complaint in relation to Defendants
McMillen and Stenson, should be dismissed for the failure to state a claim upon which

relief can be granted under 42 U.S.C. § 1983.
Case 2:21-cv-01078-CCW Document 14 Filed 10/14/21 Page 2 of 12

li BACKGROUND

2. Plaintiff's Complaint alleges a variety of incidents and actions taken by various
supervisors of Henry Clay Township which the Plaintiff claims violated his
constitutional rights.

3. These claims include:

Count I: Allegations that Defendant Myers said that Plaintiff had garbage
buried on Plaintiff's property.

Count II: Requiring the Plaintiff to have a building and zoning permit to make
repairs to his property after the roof of his business “was blown off by a
storm.”

Count III: Plaintiff's removal as a member of the Township's zoning board.

Count IV: Plaintiff alleges that there was retaliation against him for exercising
his right of free speech.

Count V: Plaintiff alleges that Defendant Wilson placed large rocks on the
Plaintiff's property.

4. In Counts If and IV, the only counts which pertain to these Defendants, Plaintiff
alleges that these Defendants violated Plaintiff's civil rights, pursuant to 42 USC § 1983
including an Equal Protection-Class of One violation and Retaliation by requiring the
Plaintiff to obtain a building permit and zoning permit for his business.

5. Plaintiff is the owner of Yough Lake Sports Shop (“Shop”) located in Henry Clay
Township at 5316 National Pike, Markleysburg, Pennsylvania 15459. (See Plaintiff’s
Complaint { 35 attached hereto as Exhibit “A”).

6. In November 2020, Plaintiff's Shop’s roof sustained significant damage and

portions were torn off as the result of high winds during a storm. (Complaint { 36; see
Case 2:21-cv-01078-CCW Document 14 Filed 10/14/21 Page 3 of 12

Photo of Roof Damage attached as Exhibit “B”). Plaintiff began the repair work, shortly
thereafter.

7. In 2020, K2 Engineering (K2) was the Zoning Enforcement Office for Clay
Township. K2 Engineering advised the Plaintiff that the repairs required that a building
permit be obtained.

8. On December 21, 2020, Plaintiff submitted an application for a building permit
with K2 Engineering.

9, On January 4, 2021, ata Township re-organization meeting, Defendant McMillen
Engineering and K2 Engineering were both appointed as Zoning Enforcement Officers
(See Jan. 4 Re-organization Meeting Minutes, attached hereto as Exhibit “C”).

10. At the February 1, 2021 Clay Township Meeting, it was stated that Defendant
McMillen and K2 can both issue building permits. (See Feb. 1 Meeting Minutes, attached
hereto as Exhibit “D”).

11. Once appointed as Zoning Enforcement Officer, it came to Defendant’s attention
that while the Plaintiff had applied for a building permit in December, no permit had
been issued to Plaintiff. The repair work had been completed at the Shop, however, the
Plaintiff had not complied with the requirements related to the building permit or
obtained a zoning permit.

12. Defendant Stenson wrote to Plaintiff on April 29, 2021. (A copy of the letter is
referenced in paragraph 52 of the Complaint and is attached hereto as Exhibit “E”).

13. In the letter, Defendant Stenson explained that Plaintiff needed to complete and
submit a zoning permit along with the required $200.00 fee. Additionally, Defendant

3
Case 2:21-cv-01078-CCW Document 14 Filed 10/14/21 Page 4 of 12

Stenson stated that Mr. Hartman needed a letter from an engineer licensed in the
Commonwealth of Pennsylvania to confirm that the work completed meets the 2015
International Building Code. Defendant Stenson requested that this information be sent
to the Township no later than May 5, 2021.

14. Attorney Jason Adams who was representing the Plaintiff, spoke to Tammy
Stenson of McMillen on May 3, 2021 about her letter and then memorialized the
conversation in correspondence dated May 3, 2021. (A copy of that letter is attached as
Exhibit “F”).

15. Attorney Adams stated that Plaintiff has submitted the application for the zoning
permit and paid the $200.00 fee. Counsel went onto state that they would finish the
building permit process with K2 Engineering and were in the process of getting the
required engineering report from K2.

16. Plaintiff's Complaint states that he believes that the April 29, 2021, letter was sent
in order to stop the repairs of the building. (Complaint { 53), however the repairs to the
business had been completed.

17. Given the severe nature of the damage to the property, it was necessary as a matter
of public safety to determine that the repairs were structurally sound and that the repairs
met the standards of the building codes applicable to the project.

18. A report was issued by K2 Engineering on May 11, 2021, and K2 issued the

required building permit.
Case 2:21-cv-01078-CCW Document 14 Filed 10/14/21 Page 5 of 12

Til. STANDARD OF REVIEW

19. Federal Rule of Civil Procedure 12(b)(6) permits courts to dismiss cases where a
Complaint states a claim based upon a wrong for which there is clearly no remedy or
claim in which the Plaintiff is without power to assert and to which no relief could
possibly be granted. Port Auth. of New York & New Jersey v. Arcadian Corp., 189 F.3d 305,
311-312 8d Cir. 1999).

20. A complaint must be dismissed for failure to state a claim “if it does not allege
enough facts to state a claim for relief that is plausible on its face.” Beil A. Corp. v. Twombly,
550 U.S. 544, 547 (2007).

21. While Plaintiff's Complaint need not set forth detailed factual allegations to
survive a Rule 12(b}(6) motion to dismiss, it must provide more than labels and

conclusions. Beil Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007).

IV. ARGUMENT

COUNT II: Equal Protection—Class of One

22. To establish a “class of one” equal protection claim, a plaintiff “must allege that
(1) the defendant treated him differently from others similarly situated, (2) the defendant
did so intentionally, and (3) there was no rational basis for the difference in treatment.”
Joey's Auto Repair & Body Shop v. Fayette Cty., 785 F. App'x 46, 49 (3d Cir. 2019)

23. Id. Standing alone, “general accusations and the invocation of the Equal
Protection Clause are not enough” to allege a class of one claim. Phillips v. Cty. of

Allegheny, 515 F.3d 224, 245 (3d Cir. 2008).
Case 2:21-cv-01078-CCW Document 14 Filed 10/14/21 Page 6 of 12

24. Plaintiff alleges no facts that Defendant did in fact treat other business owners
different with regard to building permits.

25. Plaintiff simply avers, generally, that “Defendants treated the Plaintiff differently
than similarly situated businesses owners...” (Complaint J 77).

26. Plaintiff fails to point to any similarly situated businesses that were treated
differently by Defendants McMillen and Stenson once they became the Township Zoning
Officer.

27. Further Plaintiff fails to point to any other permits issued by Defendant McMillen
wherein the person seeking a permit were not required to submit reports and pay the
required zoning fee.

28. Because Plaintiff cannot show that he was treated differently by the moving
Defendants, Plaintiff fails to show the first prong of a class of one claim.

29. At the time Tammy Stenson issued the April 29, 2021, letter, the only thing that
needed to be done with the building permit was to confirm that the repairs were
structurally sound and met the building codes.

30. Five days after the date of the letter, the necessary inspection was performed, and
the permit was issued.

31. Nothing about this process meets the requirement that the conduct be “irrational
and wholly arbitrary.”

32. It is not alleged that the building and zoning permits were not required.

33. There is also no allegation that the Plaintiff was exempt from the permit

requirements.
Case 2:21-cv-01078-CCW Document 14 Filed 10/14/21 Page 7 of 12

34. There is no constitutionally recognized right of the Plaintiff to perform repairs
without being subject to an engineer confirming that those repairs are done properly and
do not endanger the health and safety of people using the structure.

35. As the result of Plaintiff's failure to properly support the three requirements of an
Equal Protection class of one claim, his claim against moving Defendants should be

dismissed

WHEREFORE, Defendants McMillen Engineering Inc. and Tammy Stenson
respectfully request that this Honorable Court dismiss with prejudice the Complaint filed

against them in this matter.

COUNT IV: Retaliation

 

36. In order to state a claim for First Amendment retaliation, a private citizen must
allege that: (1) that he engaged in constitutionally protected activity; (2) that government
responded with retaliation; and (3) that protected activity caused the retaliation.
Eichenlaub v. Twp. of Indiana, 385 F.3d 274, 282 Gd Cir. 2004).

37. In Eichenlaub v. Twp. of Indiana, the Third Circuit state stated that “[z]oning
officials did not violate landowners’ substantive due process rights when they allegedly
applied subdivision requirements to their property that were not applied to other parcels,
pursued unannounced and unnecessary inspection and enforcement actions, delayed
certain permits and approvals, and increased tax assessments; officials' actions did not
shock the conscience, but rather were examples of the kind of disagreement that was

frequent in planning disputes.” Id. at 286.
Case 2:21-cv-01078-CCW Document 14 Filed 10/14/21 Page 8 of 12

38. Plaintiff alleges that the captioned Defendants violated his First Amendment
rights for speaking at the January 4, 2021 township meeting.

39. Plaintiff avers that as the result of his speaking at a Township meeting regarding
his removal from the zoning board the Defendants retaliated by “violated the Plaintiff on
his repairs, zoning and the building permits, threatened to fine the Plaintiff and
attempted to stop the repairs to the Plaintiff’s business.” (Complaint { 99, 100).

40. These allegations however ignore the facts of the case as pled in the Complaint.

41. As the Plaintiff has pled in paragraph 10 of the Complaint, and confirmed in the
Township meeting minutes, McMillen Engineering and Tammy Stenson were appointed
in January of 2021.

42. The Plaintiff, however, had applied for a building permit in December of 2020
(Complaint { 40).

43. By issuing the April 29, 2021 letter, Defendant McMillen and Stenson did not stop
Plaintiff from receiving the permits.

44. Plaintiff also was not stopped from completing the repairs to his property as the

repairs had been completed at the time the letter was issued.

WHEREFORE, Defendants McMillen Engineering, Inc. and Tammy Stenson ask that
this Honorable Court dismiss the claims against them for Plaintiff's failure to state a claim

upon which relief can be granted.
Case 2:21-cv-01078-CCW Document 14 Filed 10/14/21 Page 9 of 12

Dated: 10/14/21

Respectfully submitted,

WAYMAN, IRVIN & McAULEY, LLC

By:

/sf Francis X. McTiernan, Ir.
Francis X. McTiernan, Jr., Esquire
PA ID #43587
Jeffrey A. Kubay, Esquire
PA ID #76378
Wayman, Irvin & McAuley, LLC
Suite 1700, Three Gateway Center
401 Liberty Avenue
Pittsburgh, PA 15222
fmetiernan@waymanlaw.com
jkubay@waymanlaw.com
Counsel for Defendant McMillen
Engineering, Inc.
Case 2:21-cv-01078-CCW Document 14 Filed 10/14/21 Page 10 of 12

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

LAWRENCE HARTMAN, JR.,
No.: 2:21 ev 1078
Plaintiff

V8.

HENRY CLAY TOWNSHIP, CHARLES
MYERS, in his official and individual
capacity, WILLIAM HAYDEN, in his
official and individual capacity,
McMILLAN ENGINEERING, INC.,
TAMMY STENSON, in her official

and individual capacity, and RICK
WILSON, in his official and individual
capacity,

JURY TRIAL DEMANDED

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Defendants.

CERTIFICATE

Counsel for these Defendants initially contacted counsel for the Plaintiff on
September 9, 2021 advising the Plaintiff of its belief that there were mistakes in the
Complaint and requesting that Plaintiff's counsel get in contact so that they could discuss
the claim. Plaintift’s counsel responded and several attempts were made to schedule a
conference call. Two calls had to be cancelled due to Plaintiff's counsel being out of the
office due to illness.

On October 8, 2021, I specifically advised advised Mr. Hartman’s counsel of the
intention to file a 12(B)(6) Motion on the basis that information previously provided to
counsel contradicts factual statements made in Plaintiff's Complaint and that the claims
against McMillen and Stenson were not supported. In response, Plaintiff's counsel
advised that he intended to file an Amended Complaint. To date, an Amended
Complaint has not been filed and the response of these Defendants is now due.

10
Case 2:21-cv-01078-CCW Document 14 Filed 10/14/21 Page 11 of 12

WAYMAN, IRVIN & McAULEY, LLC

By:: /s/ Francis X. McTiernan, Ir.
Francis X. McTiernan, Jr., Esquire

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Case 2:21-cv-01078-CCW Document 14 Filed 10/14/21 Page 12 of 12

CERTIFICATE OF SERVICE

 

I hereby certify that a true and correct copy of the within Motion to Dismiss
Pursuant to F.R.C.P. 12(B)}(6) has been served by way of this Court’s electronic filing

system, on this 14" day of October 2021, as follows:

Joel Sansone, Esquire
Massimo Terzigni, Esquire
Elizabeth Tuttle, Esquire
Law Offices of Joel Sansone
Two Gateway Center, Suite 1290
603 Stanwix Street
Pittsburgh, PA 15222
jsansone@joelsansonelaw.com
mterzigni@joelsansonelaw.com

etuttle@joelsansonelaw.com.
(Counsel for Plaintiff)

 

 

 

Morgan Randle, Esquire
Marshall Dennehey Warner Coleman & Goggin
Union Trust Building, Suite 700
501 Grant Street
Pittsburgh, PA 15219
mmrandle@mdwee.com
(Counsel for Henry Clay Township, Charles Myers, William Hayden and Rick Wilson)

 

WAYMAN, IRVIN & McAULEY, LLC

By: /s/ Francis X. MeTiernan, Ir.
Francis X. McTiernan, Jr., Esquire

 

12
